

ORDER

PER CURIAM:
AND NOW, this 21st day of December, 1994, Jeffrey B. Wolin having been suspended from the practice of law in the State of California for a period of eighteen months, to be followed by a thirty-month period of probation, by Order of the Supreme Court of the State of California filed June 17, 1994; the said Jeffrey B. Wolin having been directed on October 13, 1994, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the response filed, it is
ORDERED that Jeffrey B. Wolin is suspended from the practice of law in this Commonwealth for a period of eighteen months, to be followed by a thirty-month period of probation consistent with the Order of the Supreme Court of the State of California, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
